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                            UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                    CRIMINAL MINUTES

Date: June 9, 2015              Time in Court: 7 Minutes     Judge: BETH LABSON FREEMAN
Case No.: 15-cr-00226-BLF-1 Case Name: UNITED STATES v. Douglas Stroms York

Attorney for Plaintiff: Brianna Penna
Attorney for Defendant: Graham Archer

 Deputy Clerk: Tiffany Salinas-Harwell              Court Reporter: Summer Fisher
                                                    9:17 – 9:24
 Interpreter: n/a                                   Probation Officer: n/a


                                       PROCEEDINGS



Status Conference held.

Jury Trial set for 07/20/2015 at 9:00 am.
Final Pre-Trial set for 07/16/2015 at 2:00 pm.

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                                                                                June 9, 2015



                                                                     Tiffany Salinas-Harwell
                                                           Courtroom Deputy to the Honorable
                                                                       Beth Labson Freeman
